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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

RUSSELL, et al,                          []
    Plaintiffs                           []
                                         []           No. 4:19-cv-00226
v.                                       []           Hon. Lee H. Rosenthal
                                         []           U.S. District Judge
HARRIS COUNTY, TEXAS, et al,             []
    Defendants                           []


                     SHERIFF’S RESPONSE
        TO AMICUS CURIAE BRIEF OF CERTAIN LEGISLATORS

      Sheriff Ed Gonzalez welcomes advocacy of differing viewpoints, particularly

from other elected officials, regarding the current crisis at the jail. The amicus curiae

“brief” from several state legislators, however, suffers from several misconceptions

that require correction.

      The amici seem to suggest no persons accused—but not convicted—should

ever be released from jail. To the contrary, our laws make pre-trial detention the

exception, not the rule. Even under the system the amici prefer, any accused with

sufficient money can secure release with a bond. The problem with this current

system, one exposed by the plaintiffs in this case, is that many persons who could

otherwise be free while awaiting trial remain in jail simply because they are too poor

to afford a bond.


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      By raising an issue about the alarming overpopulation of the jail, the Sheriff

was not, as amici imply, promoting a wholesale release of potentially dangerous

detainees. The criminal justice system has ample protections to ensure that those

charged with violent offenses receive attention from judges, prosecutors, and

defense counsel before bond is set or release determined.

      The Sheriff believes a balance must be found, one that reduces the jail

population to a manageable level while at the same time providing protection from

violent offenders. No system can guarantee that crimes will not be committed by

accused persons who are released—whether released on “sufficient” bond or

otherwise. The Sheriff does not, in any event, decide on the release of any individual

detainee; only the entire criminal justice system, working together, in accordance

with our laws and Constitution, can do that.

      The system has simply not been processing cases as quickly as before, leading

to a backlog and overpopulation at the jail. By alerting all participants in the system,

the Sheriff wanted to spur deliberation of all potential options. Releases of those

charged with non-violent offenses is but one option. Additional hearings, by zoom

or otherwise, could also help.

      If amici followed the proceedings in this Court, they would know that in

response to the Sheriff’s call for action all stakeholders in the system agreed merely

to review the status of those with relatively low bonds, who by definition were

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charged with lesser offenses, to see if a lower bond or personal bond were

appropriate on a case-by-case basis. The advisory of the District Attorney should

dispel the amici’s fears of any “dangerous release of accused felony offenders from

the Harris County Jail without any consideration of law enforcement officers and

crime survivors….” Amicus Br. at 3-4.

      The Sheriff needs no lectures from legislators to remind him that public safety

is paramount. But amici missed the larger point. The raging pandemic in Harris

County is a public safety issue, too. Ignoring the rampant virus in the close quarters

of the jail endangers not simply the persons unlucky enough to be too poor to post a

bond. It endangers the men and women of the Harris County Sheriff’s office staff

who process, house, feed, and minister to the detainees. More importantly, failure

to take action to contain the virus in the jail endangers every person in this county,

including the 1,570,132 represented by the amici.

                                       Respectfully submitted.

                                       /s/ Murray Fogler
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                         CERTIFICATE OF SERVICE

      I certify that on January 25, 2021, a copy of this document was served on

counsel of record via electronic filing in accordance with the USDC Southern

District of Texas Procedures for Electronic Filing.

                                       /s/ Murray Fogler
                                       Murray Fogler




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